                                                            Case 6:21-bk-01125-GER                          Doc 154 Filed 11/03/22
                                                                                                              FORM 1
                                                                                                                                                         Page 1 of 5
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        1
                                                                                               ASSET CASES
Case No:             21-01125       GER     Judge: GRACE E ROBSON                                                                               Trustee Name:                       ROBERT E. THOMAS, TRUSTEE
Case Name:           MJD LEGACY INVESTMENTS INC                                                                                                Date Filed (f) or Converted (c):     03/17/21 (f)
                                                                                                                                               341(a) Meeting Date:                 04/20/21
For Period Ending: 09/30/22                                                                                                                    Claims Bar Date:                     09/30/21



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. CHASE CHECKING 9037                                                                           0.00                              0.00                                                 0.00                     FA
 2. CHASE SAVINGS 1910 (u)                                                                      196.45                              0.00                                                 0.00                     FA
 3. ACCOUNTS RECEIVABLE OVER 90 DAYS OLD (u)                                              310,000.00                                0.00                                                 0.00                     FA
 4. ACCOUNTS RECEIVABLE OVER 90 DAYS OLD (u)                                              312,000.00                                0.00                                                 0.00                     FA
 5. ACCOUNTS RECEIVABLE OVER 90 DAYS OLD (u)                                            1,250,000.00                                0.00                                                 0.00                     FA
 6. ACCOUNTS RECEIVABLE OVER 90 DAYSOLD (u)                                               170,000.00                                0.00                                                 0.00                     FA
 7. INVESTMENTS 228 SHARES OF WEBSTAR NETWORK CORP (u)                                  3,769,994.00                          100,000.00                                                 0.00                       100,000.00
 8. OFFICE EQUIPMENT INCLUDING COMPUTER AND                                                     500.00                              0.00                                                 0.00                     FA
 COMMUNICAS
 9. REAL PROPERTY 13343 BOVET AVE ORLANDO                                                 320,849.00                                0.00                                                 0.00                     FA
 10. REAL PROPERTY 13351 BOVET AVE ORLANDO                                                322,443.00                                0.00                                                 0.00                     FA
 11. REAL PROPERTY 13359 BOVET AVE ORLANDO                                                320,849.00                           34,440.85                                           467,877.69                     FA
 12. FRAUDULENT TRANSFERS TO CREDITORS (u)                                                        0.00                        227,216.39                                           227,216.39                     FA
     PREFERENCE SETTLED WITH TAYLOR MORRISON AND
     APPROVED BY COURT ORDER DATED 1/24/2022 DOC NO 102
     VOIDABLE TRANSFER TO GOLDMAN SACHS $10,702.22 PAID
     IN FULL

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $6,776,831.45                         $361,657.24                                          $695,094.08                     $100,000.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE HIRED SPECIAL COUNSEL TO PURSUE FRAUDULENT TRANSFERS AND INVESTMENTS MADE BY DEBTOR.




LFORM1                                                                                                                                                                                                                           Ver: 22.07b
                                                            Case 6:21-bk-01125-GER                   Doc 154 Filed 11/03/22
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page:       2
                                                                                          ASSET CASES
Case No:            21-01125       GER     Judge: GRACE E ROBSON                                                         Trustee Name:                      ROBERT E. THOMAS, TRUSTEE
Case Name:          MJD LEGACY INVESTMENTS INC                                                                           Date Filed (f) or Converted (c):   03/17/21 (f)
                                                                                                                         341(a) Meeting Date:               04/20/21
                                                                                                   Claims Bar Date:                                         09/30/21
   FORENSIC ACCOUNTANT HIRED TO INVESTIGATE TRANSFERS AND INVESTMENTS LISTED AS ACOCUNTS RECEIVABLE BY DEBTOR.


   REAL PROPERTY AT 13359 BOVET AVE ORLANDO TO BE SOLD FREE AND CLEAR. OF LIENS NET VALUE TO ESTATE APPROXIMATELY $163,000


   CLAIMS REVIEWED


   PREFERENCE SETTLED WITH TAYLOR MORRISON IN THE AMOUNT OF $48,750.00 APPROVED BY COURT ORDER DATED 1/24/2022 DOC NO 102


   VOIDABLE TRANSFER TO GOLDMAN SACHS $10,702.22 PAID IN FULL


   PREFERENCE SETTLED WITH DISCOVER CARD IN THE AMOUNT OF $23,079.32 APPROVED BY COURT ORDER DATED 1/24/2022 DOC NO 102


   PREFERENCE SETTLED WITH TD BANK IN THE AMOUNT OF $9,450.00 APPROVED BY COURT ORDER DATED 1/24/2022 DOC NO 102


   PREFERENCE SETTLED WITH PULTE HOMES IN THE AMOUNT OF $25,000.00 APPROVED BY COURT ORDER DATED 1/24/2022 DOC NO 102


   PREFERENCE SETTLED WITH NEW RESOLUTION IN THE AMOUNT OF $39,681.89 APPROVED BY COURT ORDER DATED 1/7/2022 DOC NO 93


   PREFERENCE SETTLED WITH AKSHAYA IN THE AMOUNT OF $15,202.00 APPROVED BY COURT ORDER DATED 1/7/2022 DOC NO 92


   PREFERENCE SETTLED WITH TARGET (TD Bank) IN THE AMOUNT OF $9,450.00 APPROVED BY COURT ORDER DATED 3/15/2022 DOC NO 117


   Initial Projected Date of Final Report (TFR): 06/30/22       Current Projected Date of Final Report (TFR): 12/30/22


           /s/     ROBERT E. THOMAS, TRUSTEE
   __________________________________________ Date: 11/03/22
           ROBERT E. THOMAS, TRUSTEE




LFORM1                                                                                                                                                                                          Ver: 22.07b
                                                         Case 6:21-bk-01125-GER              Doc 154              Filed 11/03/22        Page 3 of 5
                                                                                                 FORM 2                                                                                          Page:     1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           21-01125 -GER                                                                                             Trustee Name:                      ROBERT E. THOMAS, TRUSTEE
  Case Name:         MJD LEGACY INVESTMENTS INC                                                                                Bank Name:                         Axos Bank
                                                                                                                               Account Number / CD #:             *******3032 Checking Account
  Taxpayer ID No:    *******5274
  For Period Ending: 09/30/22                                                                                                  Blanket Bond (per case limit):     $ 22,299,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                 3                                                4                                              5                        6                7
    Transaction      Check or                                                                                                         Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                        Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                  BALANCE FORWARD                                                                                                              0.00
          11/16/21      12       GOLDMAN SACHS                                    PREFERENCE FUNDS TURNED OVER                       1241-000               10,702.22                                    10,702.22
                                                                                  FOR APPLE CARD PREFERENCE
          12/01/21               Axos Bank                                        BANK SERVICE FEE                                   2600-000                                            5.72            10,696.50
          12/20/21               CENTURIAN TITLE                                  REAL ESTATE CLOSING PROCEEDS                                              26,563.16                                    37,259.66
                        11       CENTURIAN TITLE                                    Memo Amount:                460,000.00           1110-000
                                                                                  GROSS SALES PRICE
                                 REALTY, HOMEWISE                                   Memo Amount:  (   13,800.00 )                    3510-000
                                                                                  REAL ESTATE COMMSSION
                                 INTERNATIONAL, REALLY                              Memo Amount:  (   13,800.00 )                    3510-000
                                                                                  REAL ESTATE COMMISSION
                                 SITUSAMC                                           Memo Amount:  (             383,295.91 )         4110-000
                                                                                  MORTGAGE PAYOFF
                                 HOA, S. MILHAUSEN                                  Memo Amount:       (         9,203.43 )          4110-000
                                                                                  HOA LIEN PAYOFF
                                 CENTURIAN TITLE                                     Memo Amount:      (         7,159.58 )          2500-000
                                                                                  CLOSING COSTS
                                 ORANGE COUNTY                                       Memo Amount:      (         6,177.92 )          2820-000
                                                                                  PROPERTY TAXES
          01/03/22               Axos Bank                                        BANK SERVICE FEE                                   2600-000                                           23.16            37,236.50
          02/01/22               Axos Bank                                        BANK SERVICE FEE                                   2600-000                                           41.11            37,195.39
          02/07/22      11       CENTURIAN TITLE                                  REFUND OF MORTGAGE FEES ON SALE                    1110-000                   7,877.69                                 45,073.08
          02/07/22      12       TAYLOR MORRISON OF FLORIDA                       SETTLEMENT OF PREFERENCE                           1241-000               48,750.00                                    93,823.08
                                                                                  PREFERENCE SETTLED WITH TAYLOR
                                                                                  MORRISON AND APPROVED BY COURT
                                                                                  ORDER DATED 1/24/2022 DOC NO 102
          02/17/22      12       NEW REZ LLC SHELLPOINT                           SETTLEMENT OF PREFERENCE                           1241-000               39,681.89                                133,504.97
          02/22/22               International Sureties, Ltd.                     Blank Bond Disbursement                            2300-000                                           66.24        133,438.73
                                 Suite 420


                                                                                                                               Page Subtotals              133,574.96                   136.23
                                                                                                                                                                                                         Ver: 22.07b
LFORM24
                                                          Case 6:21-bk-01125-GER                Doc 154         Filed 11/03/22           Page 4 of 5
                                                                                                   FORM 2                                                                                                    Page:       2
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               21-01125 -GER                                                                                          Trustee Name:                       ROBERT E. THOMAS, TRUSTEE
  Case Name:             MJD LEGACY INVESTMENTS INC                                                                             Bank Name:                          Axos Bank
                                                                                                                                Account Number / CD #:              *******3032 Checking Account
  Taxpayer ID No:    *******5274
  For Period Ending: 09/30/22                                                                                                   Blanket Bond (per case limit):      $ 22,299,000.00
                                                                                                                                Separate Bond (if applicable):


           1                2                                3                                              4                                                 5                          6                         7
    Transaction         Check or                                                                                                       Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                     701 Poydras Street
                                     New Orleans, LA 70139
          02/25/22         12        DISCOVER FINANCIAL                                SETTLEMENT FRAUDULENT TRANSFER                 1241-000                 16,440.00                                            149,878.73
          03/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                100.75                149,777.98
          03/14/22         12        AKSHAYA VENTURES                                  PREFERENCE SETTLEMENT                          1241-000                 15,606.00                                            165,383.98
          03/15/22         12        PULTE GROUP                                       SETTLEMENT OF PREFERENCE CLAIM                 1241-000                 25,000.00                                            190,383.98
          03/18/22         12        TARGET CORP                                       PREFERENCE SETTLEMENT                          1241-000                    9,450.00                                          199,833.98
                                                                                       SETTLEMENT APPROVED BY COURT WITH TD
                                                                                       BANK 3/15/2022 DOC NO 117
          04/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                195.23                199,638.75
          05/02/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                213.31                199,425.44
          06/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                220.20                199,205.24
          07/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                212.85                198,992.39
          08/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                219.71                198,772.68
          09/01/22                   Axos Bank                                         BANK SERVICE FEE                               2600-000                                                219.47                198,553.21
          09/05/22         12        DREAMSCAPES POOLS                                 SETTLEMENT OF PREFERENCE CLAIM                 1241-000                 61,586.28                                            260,139.49

                                             Memo Allocation Receipts:           460,000.00                 COLUMN TOTALS                                    261,657.24                      1,517.75                  260,139.49
                                         Memo Allocation Disbursements:          433,436.84                     Less: Bank Transfers/CD's                          0.00                          0.00
                                                                                                            Subtotal                                         261,657.24               1,517.75
                                                   Memo Allocation Net:           26,563.16                     Less: Payments to Debtors                                                 0.00
                                                                                                            Net
                                                                                                                                                             261,657.24               1,517.75
                                                                                                                                                                                    NET                             ACCOUNT
                     Total Allocation Receipts:           460,000.00                                        TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:            433,436.84                                        Checking Account - ********3032                   261,657.24                     1,517.75                260,139.49
                                                                                                                                                    ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:            26,563.16
                                                                                                                                                              261,657.24                     1,517.75                260,139.49
                                                                                                                                                    ==============             ==============              ==============
                                                                                                                                                     (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                Transfers)               To Debtors)                    On Hand

                                                                                                                                Page Subtotals                128,082.28                     1,381.52
                                                                                                                                                                                                                       Ver: 22.07b
LFORM24
                                              Case 6:21-bk-01125-GER             Doc 154         Filed 11/03/22          Page 5 of 5
                                                                                    FORM 2                                                                                         Page:    3
                                                                ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          21-01125 -GER                                                                               Trustee Name:                    ROBERT E. THOMAS, TRUSTEE
  Case Name:        MJD LEGACY INVESTMENTS INC                                                                  Bank Name:                       Axos Bank
                                                                                                                Account Number / CD #:           *******3032 Checking Account
  Taxpayer ID No:    *******5274
  For Period Ending: 09/30/22                                                                                   Blanket Bond (per case limit):   $ 22,299,000.00
                                                                                                                Separate Bond (if applicable):


          1            2                        3                                            4                                              5                       6                  7
    Transaction    Check or                                                                                            Uniform                                                     Account / CD
       Date        Reference          Paid To / Received From                    Description Of Transaction           Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                             Checking Account - ********3032




                                                                                                               Page Subtotals                         0.00                  0.00
                                                                                                                                                                                           Ver: 22.07b
LFORM24
